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          IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                    SOUTHERN REGION OF THE CENTRAL DIVISION


     LIVING RIVERS et al.,                                         OPPOSITION TO
                                                                DEFENDANTS’ MOTION
          Plaintiffs,                                            TO DISMISS ACTION

     v.
                                                               Case No. 4:19-cv-00057-DN-PK
     KENT HOFFMAN et al.,
                                                                    Judge David Nuffer
          Defendants.                                           Magistrate Judge Paul Kohler


                                              INTRODUCTION

            Plaintiffs Living Rivers and Southern Utah Wilderness Alliance (collectively, “SUWA”)

respectfully submit this Opposition to Defendants Kent Hoffman, the Department of the Interior,

and Bureau of Land Management’s (collectively, “BLM”) Motion to Dismiss (“Motion”). 1

            This case challenges BLM’s failure to comply with the National Environmental Policy

Act (“NEPA”) when it decided to suspend sixty-eight improperly issued oil and gas leases

located in Utah’s San Rafael Desert and remarkable public lands near Moab. BLM’s suspension


1
    See generally Defs.’ Mot. to Dismiss Action (ECF No. 16)
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decisions were not a foregone conclusion. While the agency had the discretion to suspend the

leases, it also had the discretion to cancel them outright. Rather than consider cancelling the

leases, which would have freed thousands of acres of wilderness-quality lands from the

encumbrance of oil and gas leases, BLM chose to suspend the leases and thus left the door to

development wide open without any NEPA review.

       In its Motion, BLM seeks to insulate its suspension decisions from judicial review by

portraying lease suspension as the “beneficial” choice. The agency argues that oil and gas lease

suspension decisions forestall development, and thus are not subject to NEPA. But BLM ignores

Tenth Circuit law to the contrary, as well as the agency’s own NEPA guidance expressly

subjecting lease suspension decisions to NEPA.

       BLM also argues that SUWA lacks Article III standing to bring this case because the

agency’s suspension decisions, as it sees them, caused no harm. However, BLM fails to

recognize the procedural nature of a NEPA violation. Because the agency failed to comply with

NEPA, it made an uninformed decision that increases the likelihood of environmentally harmful

development. This amounts to an injury for the purpose of Article III standing. An order by this

Court in SUWA’s favor would redress the resulting harm by requiring BLM to comply with

NEPA and make informed decisions to suspend—or cancel—the leases. As such, this Court has

subject matter jurisdiction over this case and BLM’s Motion should be denied.




                                                 2
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                                         LEGAL BACKGROUND

I.       Lease Suspension and Cancellation

         BLM manages onshore oil and gas development through a three-stage process: (1) land

use planning, (2) leasing, and (3) approval of drilling proposals. 2 BLM’s issuance of oil and gas

leases that allow surface development (such as the leases at issue here) marks the point at which

the agency irretrievably commits land to oil and gas development and can no longer “prevent the

impacts from surface use” of the parcel. 3

         However, the Mineral Leasing Act and its regulations grant BLM the discretion to

suspend oil and gas leases. BLM’s leasing regulations provide that the agency may direct “[a]

suspension of all operations and production . . . in the interest of conservation of natural

resources.” 4 Doing so extends the ten-year lease term, “and no lease shall be deemed to expire

during any suspension.” 5

         BLM can also cancel leases. 6 This is a far different action from suspension. Whereas a

lease suspension essentially pauses the ten-year term of the lease and can be lifted by the agency,

cancellation removes the lease interest from the land. Cancellation both eliminates the

leaseholder’s right to develop the lease, and allows BLM to manage the unencumbered lands for

other resource values that might have conflicted with oil and gas development such as wilderness




2
  WildEarth Guardians v. Zinke, 368 F. Supp. 3d 41, 54 (D.D.C. 2019) (describing this three-stage process in more
detail).
3
  New Mexico ex rel. Richardson v. Bureau of Land Mgmt., 565 F.3d 683, 718 (10th Cir. 2009).
4
  43 C.F.R. § 3103.4-4(a)
5
  Id. § 3103.4-4(b).
6
  See Boesche v. Udall, 373 U.S. 472, 481 (1963) (holding that the Mineral Leasing Act “expand[ed]” the agency’s
ability “to cancel leases issued through administrative error.”).

                                                        3
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values and primitive recreation. 7 Lease cancellation is especially relevant when, as here, the

agency’s decision to offer the leases for oil and gas development in the first instance violated the

law. Mineral Leasing Act regulations contemplate that “[l]eases shall be subject to cancellation if

improperly issued.” 8

II.     The National Environmental Policy Act

        NEPA is the “basic national charter for protection of the environment.” 9 It “requires

federal agencies to pause before committing resources to a project and consider the likely

environmental impacts of the preferred course of action as well as reasonable alternatives.” 10 To

comply with NEPA, and before authorizing a proposal, a federal agency must prepare an

environmental impact statement (“EIS”), environmental assessment (“EA”), or a categorical

exclusion (“CX”). 11

        An EIS is a “detailed statement” that must, among other things, rigorously explore and

objectively evaluate all reasonable alternatives and analyze all direct, indirect, and cumulative

impacts. 12 If it is not “immediately apparent” whether the agency action will have a significant

effect on the environment, “the agency must prepare an EA” to determine whether an EIS is

necessary. 13 An EA must include a discussion of alternatives and the environmental impacts of




7
  See Sierra Club v. Peterson, 717 F.2d 1409, 1414 (D.C. Cir. 1983) (“once the land is leased [BLM] no longer has
the authority to preclude surface disturbing activities even if the environmental impact of such activity is
significant.”)
8
  43 C.F.R. § 3108.3(d) (“Leases shall be subject to cancellation if improperly issued.”).
9
  40 C.F.R. § 1500.1.
10
   New Mexico ex rel. Richardson, 565 F.3d at 703.
11
   See 40 C.F.R. §§ 1508.4, 1508.9, 1508.11. See also Anacostia Watershed Soc’y v. Babbitt, 871 F. Supp. 475, 482
(D.D.C. 1994) (“If an agency chooses not to prepare an [EIS] and does not invoke a [CX], the agency is required to
prepare an [EA] to determine whether an [EIS] is necessary.”).
12
   42 U.S.C. § 4332(2)(C). See also 40 C.F.R. §§ 1502.14, 1502.16.
13
   WildEarth Guardians v. Conner, 920 F.3d 1245, 1251 (10th Cir. 2019) (citations omitted).

                                                        4
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the action. 14 If an agency decides not to prepare an EIS, the EA must “provide sufficient

evidence” to support a Finding of No Significant Impact. 15

         If an agency decides not to prepare an EIS or EA, it must then prepare a CX. 16 “[CX]

means a category of actions which do not individually or cumulatively have a significant effect

on the human environment . . . and for which, therefore, neither an [EA] nor an [EIS] is

required.” 17 “A CX is a form of NEPA compliance, without the analysis that occurs in an EA or

EIS. It is not an exemption from the NEPA.” 18 Before authorizing any action that is subject to a

CX, a federal agency “shall provide for [consideration of] extraordinary circumstances in which

a normally excluded action may have a significant environmental effect.” 19 The Department of

the Interior has promulgated twelve “extraordinary circumstances” that its agencies must

consider. 20 “If ‘extraordinary circumstances’ are present, further analysis and environmental

documents must be prepared [i.e., an EA or EIS] and the use of a categorical exclusion is

inappropriate.” 21

According to BLM’s internal NEPA guidance, an oil and gas lease suspension decision is subject

to NEPA procedures—specifically a CX. 22 Before BLM approves a suspension decision, the “list



14
   See 40 C.F.R. § 1508.9.
15
   Id. § 1508.9(a)(1).
16
   Id. § 1508.4.
17
   Id.
18
   BLM, National Environmental Policy Act, Handbook H-1790-1, § 4, pg. 17 (Jan. 2008) (emphasis added)
[hereinafter, “NEPA Handbook”] (excerpts attached as Ex. A). The complete NEPA Handbook is available at
https://www.ntc.blm.gov/krc/uploads/366/NEPAHandbook_H-1790_508.pdf (last visited Oct. 31, 2019).
19
   40 C.F.R. § 1508.4.
20
   43 C.F.R. § 46.215.
21
   W. Watersheds Project v. Jewell, 221 F. Supp. 3d 1308, 1313 (D. Utah 2016).
22
   See Dept. of the Interior, Dept. Manual Part 516, Chapter 11.9.B(4), pg. 8 (May 8, 2008) [hereinafter,
“Department Manual”] (excerpts attached as Ex. B); NEPA Handbook, App. 4, § B.4, pg. 147 (same). The complete
Department Manual is available at https://www.doi.gov/nepa/requirements-guidance/DOI-requirements (follow
hyperlink for “516 DM 11”) (last visited Oct. 31, 2019).

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of ‘extraordinary circumstances’ . . . must be reviewed for applicability.” 23 And “[i]f a CX does

not pass the ‘extraordinary circumstances’ test, the proposed action analysis defaults to either an

EA or EIS.” 24

                                       FACTUAL BACKGROUND

         The facts of this case are straightforward. BLM issued sixty-eight oil and gas leases in

Utah at its March 2018 and September 2018 lease sales. 25 The leases encumber wild, scenic, and

culturally significant public lands in Utah. This includes the Goldbar Canyon, Hatch Canyon,

Labyrinth Canyon, San Rafael River, and Sweetwater Reef lands with wilderness characteristics

areas. 26 BLM has identified these areas as containing wilderness values, meaning they appear

natural and undisturbed, and provide outstanding opportunities for solitude and primitive types

of recreation such as camping, hiking, and sightseeing. SUWA has worked for years to protect

these places from oil and gas leasing and development and to secure permanent protection for

their remarkable values. 27

         When BLM issued the sixty-eight leases, it failed to quantify the reasonably foreseeable

effects of greenhouse gas emissions from their development. In light of the District Court for the

District of Columbia’s decision in WildEarth Guardians v. Zinke, 28 BLM determined that the

leases had been improperly issued. 29 SUWA had already appealed both lease sales to the Interior

Board of Land Appeals (“IBLA”) on this very ground. 30


23
   Department Manual § 11.9, pg. 7.
24
   Id.
25
   Compl. ¶¶ 1-8, 49-57 (ECF No. 2).
26
   See Decl. of Ray Bloxham ¶¶ 9-12 (attached as Ex. C).
27
   Id.
28
   368 F. Supp. 3d 41 (D.D.C. 2019).
29
   See Compl. ¶ 51; Motion at 4.
30
   Compl. ¶¶ 49-57.

                                                           6
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         Soon after the Zinke decision, BLM indicated it would be suspending the leases subject to

SUWA’s IBLA appeal. 31 Counsel for SUWA emailed BLM to remind the agency of its

obligation to comply with NEPA before it made the suspension decisions. 32 Nonetheless, in June

and July of 2019, BLM sent letters to the respective lessees stating that the agency “has

concluded that it is necessary to suspend the above-referenced lease until the completion of

appropriate review under NEPA.” 33 The letters sent to each respective lessee are the only

documentation prepared by BLM for its suspension decisions. 34 BLM decided to suspend the

leases without first considering whether to cancel them, despite having the authority to do so. 35

         Even though BLM does not allow oil and gas development on suspended leases, its

suspension decisions have real world effect, keeping the door open to future development. 36

Suspensions can remain in place for an indefinite period of time—oftentimes for several

decades. 37 During this time the leasehold remains, encumbering public lands in a way that

significantly restricts SUWA from achieving its goal of securing long-term protection for these

public lands. 38

                                        STANDARD OF REVIEW

         BLM seeks dismissal on two grounds, each of which requires a different standard of

review. To start, BLM argues that it was under no obligation to comply with NEPA, and seeks




31
   Id. ¶¶ 52, 58.
32
   Id. ¶ 59.
33
   Id. ¶¶ 61, 64.
34
   See generally Exs. 1-3 to Motion (ECF Nos. 16-1, 16-2, and 16-3).
35
   43 C.F.R. § 3108.3(d).
36
   See Id. § 3103.4-4(b) (“no lease shall be deemed to expire during any suspension”).
37
   See Ex. 4 to Compl. at 17 (ECF No. 2-5) (showing that approximately twenty-nine percent of all suspended oil
and gas leases have been suspended for more than twenty years).
38
   See Decl. of Ray Bloxham ¶¶ 20-31.

                                                        7
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dismissal under Federal Rule of Civil Procedure 12(b)(6). Such a motion tests whether SUWA’s

pleading contains “a short and plain statement of the claim showing that the pleader is entitled to

relief.” 39 In considering a motion to dismiss for failure to state a claim, a court “must accept all

the well-pleaded allegations of the complaint as true and must construe them in the light most

favorable to the plaintiffs.” 40 To survive a Rule 12(b)(6) motion, “a complaint must contain

sufficient factual matter, accepted as true, to state a claim for relief that is plausible on its

face.” 41 “A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.” 42

“Although ‘specific facts are not necessary’ to comply with Rule 8(a)(2), the complaint must

‘give the defendant fair notice of what the claim is and the grounds upon which it rests.’” 43

         BLM also seeks dismissal under Federal Rule of Civil Procedure 12(b)(1) on the ground

that SUWA lacks standing. “When evaluating a plaintiff’s standing at the stage of a motion to

dismiss on the pleadings, ‘both the trial and reviewing courts must accept as true all material

allegations of the complaint, and must construe the complaint in favor of the complaining

party.’” 44 Courts also “must construe the statements made in the affidavits in the light most

favorable to the petitioner.” 45 “At the pleading stage, general factual allegations of injury

resulting from the defendant’s conduct may suffice, for on a motion to dismiss [the court]



39
   Fed. R. Civ. P. 8(a)(2). See also Pueblo of Jemez v. United States, 790 F.3d 1143, 1171 (10th Cir. 2015) (same).
40
   Albers v. Bd. of Cty. Comm’rs of Jefferson Cty., Colo., 771 F.3d 697, 700 (10th Cir. 2014) (quotation omitted).
41
   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotation omitted).
42
   Id.
43
   Burnett v. Mortg. Elec. Registration Sys., Inc., 706 F.3d 1231, 1235 (10th Cir. 2013) (quoting Erickson v. Pardus,
551 U.S. 89, 93 (2007)) (internal quotations and alterations omitted).
44
   S. Utah Wilderness All. v. Palma, 707 F.3d 1143, 1152 (10th Cir. 2013) (quoting Warth v. Seldin, 422 U.S. 490,
501 (1975)).
45
   Palma, 707 F.3d at 1152 (quoting Initiative & Referendum Inst. v. Walker, 450 F.3d 1082, 1089 (10th Cir. 2006)
(en banc)).

                                                          8
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presume[s] that general allegations embrace those specific facts that are necessary to support the

claim.” 46

                                                 ARGUMENT

I.       BLM’S LEASE SUSPENSION DECISIONS ARE SUBJECT TO NEPA.

         NEPA requires “all agencies of the Federal Government” to comply with its provisions

“to the fullest extent possible” when taking “major Federal actions significantly affecting the

quality of the human environment.” 47 Congress’ directive that agencies comply with NEPA to

the fullest extent possible “is neither accidental nor hyperbolic. Rather, the phrase is a deliberate

command that the duty NEPA imposes upon the agencies to consider environmental factors not

be shunted aside in the bureaucratic shuffle.” 48

         “Major Federal action includes actions with effects that may be major and which are

potentially subject to Federal control and responsibility.” 49 These include “proposals” for major

federal action. 50 NEPA’s implementing regulations define a “proposal” broadly as “that stage in

the development of an action when an agency subject to the Act has a goal and is actively

preparing to make a decision on one or more alternative means of accomplishing that goal and

the effects can be meaningfully evaluated.” 51

         BLM’s lease suspensions decisions are just such actions. As discussed above, BLM

issued the oil and gas leases here without quantifying reasonably foreseeable greenhouse gas

emissions. Thus, following the decision in Zinke, the leases were issued without full compliance


46
   Id. (internal alterations and citations omitted).
47
   42 U.S.C. § 4332(2)(C).
48
   Flint Ridge Dev. Co. v. Scenic Rivers Ass'n of Okla., 426 U.S. 776, 788 (1976).
49
   40 C.F.R. § 1508.18.
50
   42 U.S.C. § 4332(2)(C).
51
   40 C.F.R. § 1508.23.

                                                          9
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with NEPA. This rendered the leases “subject to cancellation” under BLM’s oil and gas leasing

regulations. 52

         Of course, BLM has the authority to suspend leases. SUWA does not contest this point.

What matters here is that BLM had other options; and faced a discretionary choice of whether to

suspend or cancel the leases. In the language of NEPA’s implementing regulations, BLM was

“actively preparing to make a decision on one or more alternative means of accomplishing [its]

goal” of remedying improperly issued leases. 53 The agency was thus required to comply with

NEPA by preparing an EIS or EA in which it considered the environmental consequences of its

decision, or a CX in which it determined whether any extraordinary circumstances warranted

preparation of an EA or EIS.

         BLM seeks 12(b)(6) dismissal solely on the basis of its proposition “that agency actions

which are environmentally neutral, maintain the status quo, or are environmentally beneficial do

not constitute a major federal action requiring NEPA compliance.” 54 This argument fails for two

reasons. First, BLM’s argument is inconsistent with Tenth Circuit law and contradicts NEPA

regulations and the agency’s own guidance and past practice. Second, BLM’s suspension

decisions were not the environmentally beneficial choice here. Rather than cancel the improperly

issued leases, BLM decided to simply press the pause button, increasing the likelihood of future

oil and gas development.




52
   43 C.F.R. § 3108.3(d) (“Leases shall be subject to cancellation if improperly issued.”).
53
   40 C.F.R. § 1508.23.
54
   Motion at 14.

                                                          10
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         A. The Tenth Circuit Has Not Foreclosed SUWA’s Claim for Relief.

         Despite its citations to Iqbal and Twombly, BLM’s 12(b)(6) motion to dismiss does not

challenge the facial plausibility of SUWA’s Complaint—that is, whether SUWA has pled

“factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” 55 Instead, it raises a purely legal argument that NEPA does not

apply to “beneficial” agency actions writ-large.

         BLM’s argument is simply wrong. The Tenth Circuit has recognized that

environmentally beneficial actions can trigger an agency’s duties under NEPA. In Catron County

Board of Commissioners v. U.S. Fish & Wildlife Service, for instance, the court held that an

agency’s decision to designate critical wildlife habitat under the Endangered Species Act was

subject to NEPA review. 56 In reaching its holding, the court recognized that whether an agency

believes its decision will be beneficial is “immaterial to [its] responsibility to comply with

NEPA.” 57 As the court explained,

                  [t]o interpret NEPA as merely requiring an assessment of
                  detrimental impacts upon the environment would significantly
                  diminish the act's fundamental purpose—to “help public officials
                  make decisions that are based on understanding of environmental
                  consequences, and take actions that protect, restore, and enhance the
                  environment.” 58

         BLM does not cite to Catron County (or any binding law) to support its Rule 12(b)(6)

argument. Instead, it relies on dicta in a footnote in Utah Shared Access Alliance v. Carpenter. 59



55
   Iqbal, 556 U.S. at 678.
56
   75 F.3d 1429, 1439 (10th Cir. 1996).
57
   Id. at 1437. See also 40 C.F.R. § 1508.27(b)(1) (“A significant effect may exist even if the Federal agency
believes that on balance the effect will be beneficial.”).
58
   Catron Cty., 75 F.3d at 1437 (citing 40 C.F.R. § 1500.1(c)).
59
   463 F.3d 1125, 1136 n.4 (10th Cir. 2006).

                                                         11
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In the footnote, the Tenth Circuit only “note[s] that some courts have concluded that actions

taken to protect the environment need not be predicated by an EA or EIS.” 60

         BLM’s reliance on this footnote is misplaced. First, as mentioned, the Carpenter panel’s

footnote is dicta. The court held in that case that BLM did not need to undertake a land use plan

amendment before imposing temporary off-road vehicle closures. As a consequence, BLM did

not need to prepare a NEPA document that would necessarily accompany that amendment.

Though the court noted the beneficial effect of the closure, it “decline[d] to address the issue”

here: whether the closure “constitute[d] either a ‘proposal’ or a ‘major Federal action’” for

NEPA purposes. 61

         Second, the footnote refers to the Ninth Circuit’s decision in Douglas County v. Babbitt,

a case—like Catron County—challenging an agency’s failure to comply with NEPA when

making a critical habitat designation. 62 In Douglas County, the Ninth Circuit held that critical

habitat designations did not require NEPA compliance in part because designation was

protective, and “does not alter the natural, untouched physical environment at all.” 63 But the

Tenth Circuit in Catron County came to the opposite conclusion and, in so doing, rejected the

reasoning in Douglas County—the reasoning on which BLM now relies. 64 BLM relies on

unhelpful dicta to support its Rule 12(b)(6) motion, while ignoring Tenth Circuit authority




60
   Id.
61
   Id.
62
   48 F.3d 1495, 1505 (9th Cir. 1995).
63
   Id.
64
   Catron Cty., 75 F.3d at 1436. Both Catron County and Douglas County were decided on motions for summary
judgment, not motions to dismiss, suggesting that BLM’s argument here is not proper grounds for a 12(b)(6) motion.
See Olenhouse v. Commodity Credit Corp., 42 F.3d 1560, 1574 (10th Cir. 1994) (“Determination of whether the
agency complied with prescribed procedures requires a plenary review of the record and consideration of applicable
law.”).

                                                       12
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recognizing that an agency cannot avoid its NEPA obligations solely because it considers its

action to be beneficial.

         Indeed, BLM’s argument contradicts its own NEPA guidance. BLM’s NEPA

Handbook—its internal guidance for NEPA compliance—directs that “[a]s a Federal agency, the

BLM must meet NEPA requirements whenever it is the BLM’s decision that would result in an

effect on the human environment, even when the effect would be beneficial and regardless of who

proposes the action or where it would take place.” 65

         Furthermore, the agency has explicitly designated oil and gas lease suspensions as subject

to a CX. As discussed above, “[a] CX is a form of NEPA compliance, without the analysis that

occurs in an EA or EIS. It is not an exemption from the NEPA.” 66 BLM’s list of agency-created

CXs includes in its oil and gas section the “[a]pproval of . . . suspensions of operations and

production.” 67Accordingly, the Handbook instructs that “the list of ‘extraordinary circumstances’

. . . must be reviewed for applicability” to determine whether BLM can use a CX to approve

lease suspensions, or whether it must instead prepare an EA or EIS. 68 BLM field offices outside

of Utah routinely follow this very procedure prior to issuing lease suspension decisions. 69


65
   NEPA Handbook § 3.1, pg. 13 (citing 40 C.F.R. § 1508.18) (emphasis added).
66
   Id. § 4, pg. 17 (emphasis added).
67
   Id. at App. 4, § B.4, pg. 147. See also Department Manual § 11.9.B(4), pg. 8 (same).
68
   NEPA Handbook at App. 4, pg. 147. See also W. Watershed Project, 221 F. Supp. 3d at 1313 (same); 40 C.F.R. §
1508.4 (same).
69
   See, e.g., BLM, Categorical Exclusion, DOI-BLM-CO-S050-2015-0042 CX, Suspension of Operations of 11 Oil
and Gas Leases: COC-13483, COC-16076, COC-42314, COC-68787, COC-68788, COC-68789, COC-68790,
COC-68791, COC-69066, COC-70004 and COC-70005 (June 2015); BLM, Categorical Exclusion, DOI-BLM-CO-
S050-2015-0054 CX, Extension of Suspension of Operations and Production Federal Oil and Gas Leases COC-
63886, COC-63888, COC-63889, and COC-64169 (Sept. 2015); BLM, Categorical Exclusion, DOI-BLM-CO-
S010-2019-0009-CX, Suspension of Operations and Production for COC-70204 (May 2019) (CXs attached as Ex.
D). SUWA submits these records only to show that BLM’s Rule 12(b)(6) argument lacks merit, not to convert this
motion into one for summary judgement. Though not a part of the record in the case, the Court may take judicial
notice of these and other attachments to this Opposition because they are official government documents. See


                                                      13
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         BLM argues—without support—that its suspension decisions were not subject to a CX

because, its counsel contends, “use of the word ‘approval’ indicates an intention that this CX is

limited to those situations where a suspension is requested by a lessee.” 70 But its argument

contradicts the well-established requirement that NEPA applies equally to federal and non-

federal proposals. 71 And if this were truly the case, BLM’s Utah files would be replete with

examples of CX approvals of lessee-requested suspensions when in fact there are none. 72 BLM’s

argument is nothing more than an attempt to sidestep its own NEPA guidance requiring that it

prepare, at a minimum, a CX when making lease suspensions decisions.

         B. Lease Suspension Was Not the Environmentally Beneficial Choice Here.

         Even assuming that NEPA does not apply to “beneficial” or “status quo” actions, lease

suspension decisions increase, rather than decrease, the risk of harm from oil and gas

development. As discussed above, BLM had at least two options—suspension or cancellation—

for how to address improperly issued leases. As BLM recognizes, suspensions leave the leases

on the books—BLM need only lift the suspensions and a lessee may proceed with its plans to

develop its lease. 73 Leases cannot expire while suspended, and the ten-year lease term tolls. 74


70
   Motion at 15-16.
71
   See NEPA Handbook § 3.1, pg. 13 (NEPA applies “regardless of who proposes the action”). See also 40 C.F.R. §
1508.18(a) (defining “actions” broadly to include “new and continuing activities . . . projects and programs entirely
or partially financed, assisted, conducted, regulated, or approved by federal agencies”); id. § 1508.23 (defining
“proposal” broadly to include any “action when an agency subject to the Act has a goal and is actively preparing to
make a decision on one or more alternative means of accomplishing that goal”).
72
   Utah-BLM has never prepared a CX for an oil and gas lease suspension requested by the lessee, even though it
has received and approved hundreds of such requests. See, e.g., Utah-BLM Letter to Wapiti Operating, LLC, Re:
Request for Suspension of Operations and Production (July 15, 2014) (approving the requested suspensions without
preparing, at a minimum, a CX or considering whether extraordinary circumstances existed); Utah-BLM Letter to
Foundation Energy Mgmt., L.P., Re: Request for Suspension of Operations and Production (June 10, 2013) (same);
Utah-BLM Letter to Sego Resources, Re: Request for Suspension of Operations and Production (March 4, 1999)
(same); Utah-BLM Letter to Exxon Co., U.S.A., Re: Suspensions of Operations and Production (Oct. 17, 1995)
(same) (letters collectively attached as Ex. E).
73
   Motion at 15.
74
   43 C.F.R. § 3103.4-4(b).

                                                         14
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Moreover, the lands remain encumbered by the lease and committed to development, thus

making it less likely Congress will designate the lands as Wilderness and, as a practical matter,

hindering BLM from managing the lands for conservation. 75

         Lease cancellation, on the other hand, would eliminate the looming possibility of oil and

gas development. The lands would no longer be burdened by a lease interest. BLM would be free

to manage the lands, many of which possess wilderness characteristics, without regard to any

existing commitments to industrialize the lands for oil and gas development. Thus, BLM’s

assurance that its suspension decision “is at the very least environmentally neutral, if not

environmentally beneficial” is an empty platitude. 76

         In sum, BLM’s sweeping Rule 12(b)(6) argument—that actions it considers beneficial

are, as a matter of course, not subject to NEPA—lacks legal support. Moreover, BLM’s

suspension decisions were not “beneficial.” Rather, and in contrast to cancellation, its decisions

extended the duration of the leases, increased the likelihood that harmful development will

occur, and discouraged environmentally protective designations and management. SUWA has

stated a claim upon which relief can be granted, and BLM’s motion should be denied.




75
   See Decl. of Ray Bloxham ¶¶ 20-31 (explaining that the existence of oil and gas leases—including suspended
leases—has prohibited SUWA from protecting the lands at issue in this litigation).
76
   After SUWA brought this action, BLM submitted a declaration by Kent Hoffman, the Deputy State Director of
BLM’s Division of Lands and Minerals. Ex. 4 to Motion (ECF No. 16-4). In his declaration, signed the day before
BLM filed its motion to dismiss, Mr. Hoffman asserts that BLM will, after additional NEPA review, “take one of the
following actions: (1) lift the lease suspension; (2) modify lease terms and lift the suspension; or (3) void the lease.”
Id. at ¶ 4. But Mr. Hoffman’s declaration looks past BLM’s suspension decision at issue here and its attendant duty
to, at the very least, prepare a CX and evaluate whether extraordinary circumstances might apply.

                                                          15
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II.      SUWA HAS ARTICLE III STANDING TO CHALLENGE BLM’S LEASE
         SUSPENSION DECISIONS.

         In addition to its Rule 12(b)(6) motion, BLM seeks dismissal under Rule 12(b)(1) for

lack of Article III standing. To satisfy Article III’s standing requirements, a plaintiff must show:

                  (1) it has suffered an “injury in fact” that is (a) concrete and
                  particularized and (b) actual or imminent, not conjectural or
                  hypothetical; (2) the injury is fairly traceable to the challenged
                  action of the defendant; and (3) it is likely, as opposed to merely
                  speculative, that the injury will be redressed by a favorable
                  decision. 77

SUWA meets all three requirements.

         A. Injury in Fact

         As the Tenth Circuit explained in Committee to Save the Rio Hondo v. Lucero, in

determining whether a plaintiff has Article III standing in the NEPA context “it is important to

remember the procedural nature of a [NEPA] claim.” 78 Because NEPA does not mandate

particular outcomes but instead requires strict adherence to procedural requirements, “[a]n

agency’s failure to follow [NEPA’s] prescribed procedures creates a risk that serious

environmental consequences of the agency action will not be brought to the agency

decisionmaker’s attention.” 79 Accordingly, the Tenth Circuit splits the injury-in-fact prong “into

two parts” for the purpose of NEPA claims:

                  (1) the litigant must show that in making its decision without
                  following [NEPA’s] procedures, the agency created an increased
                  risk of actual, threatened, or imminent environmental harm; and (2)
                  the litigant must show that the increased risk of environmental harm



77
   Friends of the Earth, Inc. v. Laidlaw Envtl. Services (TOC), Inc., 528 U.S. 167, 180-81 (2000) (citation omitted).
78
   102 F.3d 445, 448 (10th Cir. 1996).
79
   Id. (internal citations and quotations omitted).

                                                         16
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                  injures its concrete interests by demonstrating either its geographical
                  nexus to, or actual use of the site of the agency action. 80

         Because BLM failed to conduct NEPA when deciding what course of action to take

regarding the leases at issue here, it made uninformed decisions that threaten environmental

harm to SUWA’s concrete interests.

                         i.     BLM Created an Increased Risk of Harm by Failing to Comply with
                                NEPA.

         Faced with the choice between suspending and cancelling its improperly issued leases,

BLM proceeded directly to issuing lease suspensions without first complying with NEPA.

Consequently, its decisions were “uninformed” and “create[d]” the injury in fact for purposes of

Article III standing—the “injury of an increased risk of harm.” 81

         As discussed above, BLM was not required to suspend the leases at issue in this

litigation, and could have instead cancelled them. 82 These two outcomes (keeping leases on the

books versus lease cancellation) have significantly different real-world effects and significantly

different environmental impacts. Public lands can only be developed for oil and gas with a valid

existing lease. 83 By suspending the leases, BLM has kept the door open to future development.

Cancellation, on the other hand, would have eliminated the potential for development and




80
   Id. at 449.
81
   Id.
82
   See 43 C.F.R. § 3108.3(d) (“Leases shall be subject to cancellation if improperly issued.”); id. § 3103.4-4(a) (“A
suspension of all operations and production may be directed or consented to by [BLM] only in the interest of
conservation.”) (emphasis added).
83
   See also Sierra Club, 717 F.2d at 1414 (“[O]nce the land is leased [BLM] no longer has the authority to preclude
surface disturbing activities even if the environmental impact of such activity is significant”); 43 C.F.R. § 3101.1-2
(“A lessee shall have the right to use so much of the leased lands as is necessary to explore for, drill for, mine,
extract, remove and dispose of all the leased resource in the leasehold”). See also Decl. of Ray Bloxham ¶¶ 32-37
(describing the harms to his, and SUWA’s, interests from existing oil and gas leases).

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allowed for environmentally-protective designations and management decisions. 84 But BLM

failed to consider these differences. Instead, in two-page letters to the lessees, BLM merely

stated that it had decided to suspend the leases based on the similarities between certain pending

legal challenges (SUWA’s IBLA appeals) and the Zinke decision. 85

         Because BLM did not comply with NEPA, there is no evidence that the agency even

considered whether to cancel the leases, let alone the consequences of doing so. Such

uninformed decisionmaking is precisely the injury NEPA is designed to prevent. It is immaterial

that BLM—had it considered this information—may have reached the same conclusion to issue

the suspension decisions. For purposes of standing, a plaintiff “need not establish that the

ultimate agency decision would change upon [NEPA] compliance.” 86

         According to BLM, “suspension effectively prohibits any ground disturbing activities or

development, thus negating any potentially-related environmental harm.” 87 This contention is

wrong as a matter of fact. As discussed above, suspension keeps the door to development open,

and only lengthens the term of the lease. BLM’s contention also misses the point that the agency

had the option to cancel the leases, which would have resolved all of SUWA’s alleged harms.

         For this same reason, BLM’s reliance on Moyle Petroleum v. LaHood is inapposite. 88 In

that case, the court held that the plaintiff had not shown how the rerouting of a proposed highway

interchange would improve air quality (i.e., under both interchange scenarios the air quality

impact would be the same), and thus the plaintiff failed to satisfy the first prong of the injury-in


84
   See Decl. of Ray Bloxham ¶¶ 20-31 (detailing how the existence of leases has prevented SUWA from achieving
wilderness protections for the leased lands).
85
   Exs. 1-3 to Motion.
86
   Rio Hondo, 102 F.3d at 452.
87
   Motion at 9.
88
   See id. at 8-9.

                                                      18
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fact test. 89 In contrast, here the potential outcomes (and accompanying environmental effects) of

keeping the leases in existence by suspending them, compared to cancelling them, are not the

same. The former keeps the door open to oil and gas development on the leases while the latter

closes that door.

         BLM’s argument also overlooks the procedural nature of SUWA’s alleged NEPA

violation and Tenth Circuit precedent. In Rio Hondo, the Tenth Circuit held that the plaintiffs

had standing to challenge a decision by the United States Forest Service to allow summertime

use of a ski area. 90 The plaintiffs alleged that the Forest Service had failed to prepare a sufficient

NEPA analysis prior to allowing that use. 91 Discussing Article III standing, the Rio Hondo court

explained that the Forest Service’s alleged procedural misstep created “a risk that serious

environmental consequences of the agency action [were] not . . . brought to the agency

decisionmaker’s attention.” 92 Stated differently, it was the Forest Service’s uninformed decision,

and not actual on-the-ground environmental damage, that injured the plaintiffs.

         In light of the procedural nature of NEPA, the court further explained that the plaintiffs

did not need “to show with certainty, or even with a substantial probability” that the challenged

action would have a significant impact to the environment. 93 Instead, the obligation to make that

showing fell on the agency i.e., “those examinations are left to [a NEPA analysis.]” 94




89
   969 F. Supp. 2d 1332, 1336 (D. Utah 2013) (“Moyle has failed to adequately explain how using an alternative
which allows left turns on the 200 West interchange will better the air quality on its property.”).
90
   Rio Hondo, 102 F.3d at 446.
91
   Id. at 446-47.
92
   Id. at 448.
93
   Id. at 452.
94
   Id.

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         Here too, SUWA challenges BLM’s uninformed lease suspension decisions. SUWA need

not “show with certainty, or even with a substantial probability” that the challenged action would

have a significant impact to the environment. 95 It is enough that BLM, by making uninformed

decisions, increased the risk of harm to SUWA’s interests.

                        ii.    SUWA Has Adequately Alleged Harm to its Concrete, Particularized
                               Interests.

         “To fully establish injury in fact, a plaintiff must be able to show that a separate injury to

its concrete, particularized interests flows from the agency’s procedural failure.” 96 In the NEPA

context, to make this showing a plaintiff “must establish either its ‘geographical nexus’ to, or

actual use of the site where the agency will take or has taken action such that it may be expected

to suffer the environmental consequences of the action.” 97

         The Tenth Circuit has applied this rule in two recent NEPA cases. In WildEarth

Guardians v. U.S. Bureau of Land Management, the plaintiffs alleged that BLM failed to

properly consider alternatives in violation of NEPA, and that their members had visited the

public lands at issue. 98 Similarly, in Diné Citizens Against Ruining Our Environment v.

Bernhardt (“Diné CARE”), the plaintiffs alleged that BLM’s consideration of certain oil and gas

drilling projects violated NEPA and that their members had visited the public lands at issue. 99 In

both instances the Tenth Circuit held that the plaintiffs, based on these facts, had demonstrated




95
   Id.
96
   Id. at 449.
97
   Id. (citations omitted).
98
   870 F.3d 1222, 1231 (10th Cir. 2017).
99
   923 F.3d 831, 841 (10th Cir. 2019).

                                                   20
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the necessary concrete and particularized interest in order to challenge the respective agency

decisions. 100

        These cases are controlling here. As discussed above, BLM made uninformed lease

suspension decisions that increase the chance that environmentally harmful development will

occur. And this risk of harm threatens SUWA’s concrete and particularized interests. As

described in detail in SUWA’s Complaint and the declaration of SUWA’s standing declarant,

Ray Bloxham, SUWA members have travelled extensively through the public lands

encompassed by the suspended leases, worked for decades to achieve permanent protections for

the lands at issue, plan to return to these lands, and will be harmed by oil and gas development

activity on the leases. 101 In the NEPA context, these facts are sufficient in order for SUWA to

establish an injury-in-fact.

        BLM relies solely on Moyle Petroleum to argue that SUWA lacks a concrete and

particularized injury, but that decision is easily distinguishable. 102 There, the court found that the

plaintiff lacked standing to challenge a highway interchange revision under NEPA because it did

not have a concrete interest in protection of the environment. Its interests were instead “in

property access and business revenues from commuter traffic.” 103 As a consequence, the court

found that its “concerns about environmental harm . . . may be shared by all and are more

accurately categorized as general grievances.” 104




100
    WildEarth Guardians, 870 F.3d at 1232; Diné CARE, 923 F.3d at 844.
101
    See generally Compl. ¶¶ 19-20; Decl. of Ray Bloxham ¶¶ 13-37.
102
    See Motion at 8-9.
103
    969 F. Supp. 3d at 1336.
104
    Id.

                                                      21
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        In contrast, SUWA has clear and undisputed interests in the environmental protection of

the very lands at risk here. 105 Because SUWA’s challenge is brought in the context of NEPA, it

need only show “a geographical nexus to, and actual[] use [of] the land . . . in the affected area”

to demonstrate a concrete interest. 106 SUWA has done so here. 107

        B. Causation

        “To establish causation, a plaintiff must show its injuries are fairly traceable to the

conduct complained of.” 108 In the NEPA context, “the injury is the increased risk of

environmental harm to concrete interests, and the conduct complained of is the agency’s failure

to follow [NEPA] procedures.” 109 “[O]nce the plaintiff has established the likelihood of the

increased risk for purposes of injury in fact, to establish causation . . . the plaintiff need only

trace the risk of harm to the agency’s alleged failure to follow [NEPA’s] procedures.” 110

        In WildEarth Guardians, the court held that plaintiffs had met this low threshold

requirement simply by having “pointed out that the increased risk of environmental harm is

directly tied to BLM’s inadequate alternative comparison.” 111 Similarly, in Diné CARE, the

plaintiffs alleged that BLM’s “uninformed decision” to approve certain oil and gas drilling

permits had increased the risk of environmental harm—an allegation the Tenth Circuit held was

“sufficient to establish causation.” 112




105
    See Decl. of Ray Bloxham ¶¶ 20-31.
106
    Rio Hondo, 102 F.3d at 450.
107
    See Decl. of Ray Bloxham ¶¶ 13-19.
108
    Rio Hondo, 102 F.3d at 451.
109
    Id.
110
    Id. at 452.
111
    WildEarth Guardians, 870 F.3d at 1231.
112
    Diné CARE, 923 F.3d at 844.

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         SUWA has likewise has cleared this low threshold. As explained above, BLM failed to

follow NEPA procedures when they issued the challenged lease suspension decisions. 113 Thus,

BLM’s uninformed decisions caused SUWA’s alleged injuries.

         BLM argues that oil and gas lease suspensions can, in certain circumstances, be viewed

“favorably.” 114 The present suspension decisions, according to Defendants, should be so viewed

because they were put into place in order for BLM to “conduct additional NEPA analysis.” 115

But it is immaterial whether lease suspensions, considered in the abstract, can serve legitimate

purposes. That fact does not address SUWA’s complaint that BLM was required to comply with

NEPA when it was considering issuing the suspensions themselves, and the failure to do so

caused SUWA’s members injuries.

         C. Redressability

         Finally, SUWA’s alleged harms will be redressed by an order from the Court instructing

BLM to comply with NEPA. “Compliance with [NEPA] would avert the possibility that [the

agency] may have overlooked significant environmental consequences of its action.” 116 For this

reason, in the NEPA context, “‘the normal standards for redressability’ are relaxed; a plaintiff

need not establish that the ultimate agency decision would change upon [NEPA] compliance,” 117

rather it need only establish “that its injury would be redressed by a favorable decision requiring

[the federal agency] to comply with [NEPA’s] procedures.” 118


113
    Compl. ¶ 20.
114
    Motion at 11.
115
    Id.
116
    Rio Hondo, 102 F.3d at 452.
117
    Id. (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 572, n.7 (1992)).
118
    Id. See also Massachusetts v. Envtl. Prot. Agency, 549 U.S. 497, 518 (2007) (“When a litigant is vested with a
procedural right, that litigant has standing if there is some possibility that the requested relief will prompt the injury-
causing party to reconsider the decision that allegedly harmed the litigant.”); S. Utah Wilderness All. v. Office of

                                                            23
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         SUWA meets the redressability requirement. BLM failed to follow NEPA procedures

when it issued the challenged lease suspension decisions. SUWA has requested that, on remand,

the Court order BLM to “comply with all applicable NEPA procedures” prior to making renewed

decisions to cancel or suspend these leases. 119 This would redress SUWA’s alleged injuries. 120

         In its Motion, BLM argues that SUWA’s requested court order would “would remove the

environmental protections currently provided by the lease suspensions.” 121 According to BLM,

“[w]ithout the suspensions in place, lessees could presumably begin at least some lease

development, and [SUWA’s] interests to prevent development could consequently be harmed,

not protected, by a favorable decision.” 122

         Contrary to BLM’s claims, the lessees could not immediately “begin at least some lease

development” if the suspensions were lifted. At most they could seek approval for drilling

operations by filing an application for permit to drill. 123

         More importantly, BLM’s argument misses the procedural nature of the injury. SUWA’s

“alleged injury is the potential environmental impact of [BLM’s] uninformed decision.” 124 “This

injury is redressable by a court order requiring [BLM] to undertake [a] NEPA . . . analysis in




Surface Mining Recl. And Enforcement, 620 F.3d 1227, 1235 (10th Cir. 2010) (holding that an agency’s failure to
follow its procedures “also satisfies the . . . redressability prong[]”).
119
    Compl. at 20.
120
    See Diné CARE, 923 F.3d at 844 (“A favorable decision ordering compliance with NEPA’s procedures would
‘avert the possibility that the [agency] may have overlooked significant environmental consequences of its actions,’
thereby redressing Appellants’ alleged harms.”) (citation omitted).
121
    Motion at 12.
122
    Motion at 12-13.
123
    43 C.F.R. § 3162.3-1(c) (stating that “[n]o drilling operations, nor surface disturbance . . . may be commenced
prior to the authorized officer’s approval of the [drilling] permit”).
124
    Id. at 1265-66.

                                                         24
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order to better inform itself of the consequences of its decision.” 125 SUWA’s alleged harms will

be redressed by an order from the Court instructing BLM to comply with NEPA.

                                            CONCLUSION

            For the foregoing reasons, oil and gas lease suspension decisions are subject to NEPA,

and SUWA has standing to challenge BLM’s uninformed decisionmaking. BLM’s Motion to

Dismiss should be denied.



DATED this 1st day of November, 2019.

                                                                Respectfully submitted,

                                                                /s/ Landon Newell            .

                                                                Landon Newell
                                                                Stephen Bloch




125
      Id. at 1266.

                                                   25
